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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA

  STATE OF FLORIDA, et al.

                        Plaintiffs,
                                               Case No. 8:24-cv-01080-WFJ-TGW
        v.

  DEPARTMENT OF HEALTH AND
  HUMAN SERVICES, et al.

                        Defendants.

                               STATUS REPORT
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         In September, this Court granted in part Defendants’ motion to stay proceedings

  pending final resolution of their appeal of this Court’s preliminary injunction, ECF

  No. 47. ECF No. 50. Opening briefs in that and in related appeals are due as follows:

         -   State of Tennessee v. Becerra, No. 24-60462 (5th Cir.): November 21, 2024
         -   State of Texas v. Becerra, No. 24-40568 (5th Cir.): November 27, 2024
         -   State of Florida v. HHS, No. 24-12826 (11th Cir.): January 2, 2025

         The Fifth Circuit has not decided the appeal of the Final Judgment in Neese v.

  Becerra, No. 2:21-cv-00163-Z (N.D. Tex. Nov. 22, 2022), No. 23-10078 (5th Cir.),

  which precludes HHS from enforcing Section 1557 (including the Rule) against CMA

  members and Florida DDCs to prohibit discrimination on account of gender identity.

         The stay of district court proceedings in this case should remain in effect.

  Circumstances have not changed such that the reasons for imposing the stay, ECF No.

  47, no longer exist. See Whitman-Walker Clinic, Inc. v. HHS, Civ. A. No. 20-1630, 2021

  WL 4033072, at *4 (D.D.C. Sept. 3, 2021). The Eleventh Circuit’s ruling on

  Defendants’ appeal of the preliminary injunction will have a “substantial” if not a

  “controlling effect” on Plaintiffs’ claims, irrespective of any district court proceedings

  that take place in the interim. See Miccosukee Tribe of Indians of Fla. v. S. Fla. Water Mgmt.

  Dist., 559 F.3d 1191, 1198 (11th Cir. 2009). Pressing on with such proceedings would

  therefore be an inefficient, if not wholly wasteful, use of the parties’ and the Court’s

  time and resources. Id.

         At this time, Defendants cannot speculate about possible future actions by

  policymakers after the upcoming change in Presidential administration.



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  Dated: November 15, 2024          Respectfully submitted,
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